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       Elliott Broidy, Broidy Capital Management, LLC, and
   7   Circinus, LLC
   8
                             UNITED STATES DISTRICT COURT
   9
                           CENTRAL DISTRICT OF CALIFORNIA
  10

  11                                WESTERN DIVISION

  12
       MOSAFER INC.; MOSAFER ECOM,              CASE NO. 2:21-cv-06320-MCS-JC
  13 INC.; and GOMOSAFER,
                                                [Assigned to Hon. Mark C. Scarsi]
  14               Plaintiffs,
             vs.                                REQUEST FOR THE CLERK OF
  15
                                                COURT TO MAIL SUMMONS,
  16 ELLIOTT BROIDY; et al.,                    COUNTERCLAIM, AND OTHER
                                                DOCUMENTS IN
  17               Defendants.
                                                ACCORDANCE WITH L.R. 4-5
  18 ELLIOT     BROIDY; BROIDY                  AND PURSUANT TO FED. R.
     CAPITAL MANAGEMENT, LLC;                   CIV. P. 4(j)(1) AND 28 U.S.C. §
  19 CIRCINUS, LLC,
                                                1608(a)(3); DECLARATION OF
  20 Counterclaim-Plaintiffs,                   DANIEL A. SAUNDERS
  21         vs.

  22 MOSAFER INC.; MOSAFER ECOM,

  23 INC.; GOMOSAFER, STATE OF
       QATAR, ABU ISSA HOLDING
  24 WLL, ASHRAF ABU ISSA, NABIL

  25 ABU ISSA,

  26               Counterclaim-Defendants.
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  28
               REQUEST FOR CLERK OF COURT TO MAIL SUMMONS,
             COUNTERCLAIM, AND OTHER DOCUMENTS; DECLARATION
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   1           Defendants/Counterclaim-Plaintiffs Elliott Broidy, Broidy Capital
   2 Management, LLC, and Circinus, LLC (collectively, the “Broidy Counterclaim-

   3 Plaintiffs”), in accordance with Local Rule 4-5, hereby request that the Clerk of

   4 Court mail a summons, counterclaim, and other documents pursuant to Federal

   5 Rule of Civil Procedure 4(j)(1) and 28 U.S.C. § 1608(a)(3).

   6           In their Counterclaim, the Broidy Counterclaim-Plaintiffs name the State of
   7 Qatar as a Counterclaim-Defendant. Federal Rule of Civil Procedure 4(j)(1)

   8 provides that “[a] foreign state or its political subdivision, agency, or

   9 instrumentality must be served in accordance with 28 U.S.C. § 1608.”

  10           28 U.S.C. § 1608(a) directs that service on a foreign state shall be made
  11 either:
  12           (1) by delivery of a copy of the summons and complaint in accordance
  13               with any special arrangement for service between the plaintiff and
                   the foreign state or political subdivision; or
  14

  15           (2) if no special arrangement exists, by delivery of a copy of the
                   summons and complaint in accordance with an applicable
  16               international convention on service of judicial documents; or
  17
               (3) if service cannot be made under paragraphs (1) or (2), by sending a
  18
                   copy of the summons and complaint and a notice of suit, together
  19               with a translation of each into the official language of the foreign
                   state, by any form of mail requiring a signed receipt, to be
  20
                   addressed and dispatched by the clerk of the court to the head of the
  21               ministry of foreign affairs of the foreign state concerned . . . .
  22 In this case, service under 28 U.S.C. §1608(a)(1)-(2) cannot be made because:

  23 (1) there is no “special arrangement for service” between Broidy and Qatar,

  24 and (2) Qatar is not a party to any international convention on the service of

  25 judicial documents. Therefore, the Broidy Counterclaim-Plaintiffs request

  26 that the Clerk of Court “dispatch” the summons, counterclaim, and notice of
  27 suit, along with a translation of each into Arabic (the official language of the

  28                                               2
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   1 State of Qatar), pursuant to 28 U.S.C. §1608(a)(3).

   2        In accordance with the requirements of Local Rule 4-5, included below is a
   3 declaration demonstrating that the Broidy Counterclaim-Defendants have

   4 determined that service by mail is not prohibited by the law of the State of Qatar.

   5

   6 Dated:        December 15, 2021            KASOWITZ BENSON TORRES LLP
   7

   8                                            By:
                                                      Daniel A. Saunders, Esq.
   9
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  13
                                                      Attorneys for Defendants and
  14                                                  Counterclaim-Plaintiffs
                                                      Elliott Broidy and Broidy Capital
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                                                      Management, LLC
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   1                   DECLARATION OF DANIEL A. SAUNDERS
   2        I, Daniel A. Saunders, declare:
   3        1.     I am a partner with Kasowitz Benson Torres LLP, counsel of record for
   4 Defendants/Counterclaim-Plaintiffs Elliott Broidy, Broidy Capital Management,

   5 LLC, and Circinus, LLC, (collectively, the “Broidy Counterclaim-Plaintiffs”) in this

   6 action. I submit this declaration in support of the Broidy Counterclaim Plaintiffs’

   7 Request for the Clerk of Court to Mail Summons, Complaint, and Other Documents

   8 in Accordance with L.R. 4-5 and Pursuant to Fed. R. Civ. P. 4(j)(1) and 28 U.S.C. §

   9 1608(a)(3). I have personal knowledge of the facts set forth in this Declaration and

  10 could and would testify thereto if called upon to do so.

  11        2.     Article 11 of the Civil and Commercial Procedure Law of Qatar
  12 specifically authorizes service of a summons “by registered mail or any other

  13 appropriate means.” A true and correct copy of Article 11 of the Civil and

  14 Commercial Procedure Law of Qatar is attached hereto as Exhibit 1.

  15        3.     The U.S. Department of State’s Bureau of Consular Affairs page for the
  16 State of Qatar does not state that service of process by mail is prohibited. A true and

  17 correct copy of the U.S. Department of State’s Bureau of Consular Affairs page for

  18 the State of Qatar is attached hereto as Exhibit 2.
  19        4.     In prior litigation involving the State of Qatar, a United States District
  20 Court held that service by mail pursuant to 28 U.S.C. §1608(a)(3) was proof that a

  21 “Plaintiff ha[d] successfully served the State of Qatar.” Dahman v. Embassy of

  22 Qatar, 2018 WL 3597660, at *3 (D.D.C. July 26, 2018), vacated on other grounds,

  23 364 F. Supp. 3d 1 (D.D.C. 2019), aff’d, 815 F. App’x 554 (D.C. Cir. 2020). A true

  24 and correct copy of that opinion is attached hereto as Exhibit 3.

  25        5.     Based on the foregoing, the Broidy Counterclaim-Plaintiffs have
  26 determined that service by mail is not prohibited by the State of Qatar.
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   1        I declare under penalty of perjury under the laws of the State of California that
   2 the foregoing is true and correct.

   3        Executed this 15th day of December, 2021 in Los Angeles, California.
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   6                                                By:
   7                                                             Daniel A. Saunders
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   1                           CERTIFICATE OF SERVICE
   2        I certify that, on December 15, 2021, I electronically filed the foregoing with
   3 the Clerk of the Court using the CM/ECF system, which will send notice to all

   4 counsel of record.

   5
                                        /s/ Daniel A. Saunders
                                      Daniel A. Saunders
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